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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Protect Our Parks, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:18−cv−03424
                                                      Honorable John Robert Blakey
Chicago Park District, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 29, 2018:


        MINUTE entry before the Honorable John Robert Blakey: Motion hearing held on
11/29/2018. Defendant's motion to dismiss [48] is briefed as follows: response shall be
filed on or before 1/11/2019; reply shall be filed on or before 2/1/2019; motion hearing set
for 2/14/2019 at 9:45 a.m. in Courtroom 1203. Defendant's motion for leave to file excess
pages [49] is granted. Defendant's motion to stay [50] is denied, and discovery referenced
in open court shall be tendered on or before 12/6/2018. Motions for leave to file [54], [56]
and [61] are granted. Status hearing set for 12/5/2018 and motion hearing set for
12/6/2018, are stricken. Mailed notice(gel, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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